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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division


   JOSE CRUZ,et ai.

                          Plaintiffs,

           V.
                                                              Case No. 1:17-cv-349-LO-IDD

   RUBY CONSTRUCTION ASSOCIATES
   LLC,VA,et al.

                          Defendants.



                                             ORDER

         This matter comes before the Court on the Report and Recommendation(R«&R)of

  United States Magistrate Judge Ivan D. Davis, dated March 15, 2019(Dkt. 28), on Plaintiffs'

  Motion for an Order to Show Cause Why Defendants Should Not Be Held in Contempt of

  Court(Dkt. 22). Defendants did not object to the R&R.The Court has reviewed Plaintiffs'

  Memorandum in Support ofthe Motion for Order to Show Cause(Dkt. 23), and the

  associated documents, and finds good cause to ADOPT the findings and recommendations

  of Judge Davis.

         Accordingly,for the reasons cited by Judge Davis and for good cause shown.

  Plaintiffs' Motion for an Order to Show Cause Why Defendants Should Not Be Held in

  Contempt of Court(Dkt. 22)is GRANTED and the Court FINDS Defendants Juan Miguel

  Constanza and Vanessa Constanza in civil contempt of Court.

         Commencing the day after this Order is entered. Defendants Juan Miguel Constanza

  and Vanessa Constanza shall jointly pay to the Clerk of this Court a fine of$50 per day until
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